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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                  Plaintiff,


v.                                    ORDER
                                      Criminal File No. 05-282 (MJD/JJG)

(1) CHRISTOPHER WILLIAM SMITH,

(2) PHILIP MACH, and

(3) BRUCE JORDAN LIEBERMAN,

               Defendants.
________________________________________________________________

      IT IS HEREBY ORDERED that:

      1.    Defendant Bruce Jordan Lieberman must appear for arraignment on
            October 28, 2005, at 10:30 a.m.

      2.    The October 28, 2005, hearing date is cancelled as to Defendants
            Christopher William Smith and Philip Mach, and they do not need to
            appear on that date.




Dated: October 14, 2005                    s/ Michael J. Davis
                                           Judge Michael J. Davis
                                           United States District Court
